 

Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 1 of 14 PageID #: 1

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

UNITED STATES DISTRICT COURT

for the

 

District of

West Virginia Division

Case No.

 

 

MALIK WILLIAMS, PRO SE
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint:
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
~V~

__ JASON WEAVER .

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Nee Nee ee ee ee ee ee eee ee ee ee”

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should nof contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

Page 1 of 11

 
Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 2 of 14 PagelD #: 2

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

All other names by which
you have been known:
ID Number

Current Institution
Address

B. The Defendant(s)

MALIK WILLIAMS

 

FED.REG.NO.# 55348-039
FOI FORT DIX
P.O. BOX 2000

JOINT BASE MDL, Ng _ — 08640 —
Citv State Zip Code

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |
Name
Job or Title (if known)
Shield Number
Employer
Address

Defendant No. 2
Name
Job or Title (fknown)
Shield Number
Employer
Address

JASON WEAVER
PHSYCIATRIST REPRESENTATIVE/HEAD DOCTOR
UNKNOWN

 

FEDERAL BUREAU OF PRISONS

FCI BECKLEY

 

BECKLEY _ WVA _ 25801
City State Zip Code

[] Individual capacity  [X] Official capacity

 

 

 

 

 

 

City State Zip Code
[] Individual capacity _[_] Official capacity

Page 2 of 11

 

 
Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 3 of 14 PagelD #: 3

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

i.

Defendant No. 3

Name

 

Job or Title (if known)

 

Shield Number

 

Employer

 

Address

 

 

City
[_] Individual capacity

Defendant No. 4

Name

Job or Title (if known)

State , Zip Code
[_] Official capacity

 

Shield Number

 

Employer

 

Address

 

 

City
[| Individual capacity

Basis for Jurisdiction

State Zip Code
[_] Official capacity

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (check all that apply):
Federal officials (a Bivens claim)

[] State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

My &th, Sth, 6th, 8th, and 14th Amendment Constitutional Rights have been

violated.

 

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you

are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials? 4th, Sth, 6th, Ath, and 14th Constitutional rights have been

violated.

Page 3 of 11

 

 

 
 

Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 4 of 14 PagelID#: 4.

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

 

 

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):
Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

ORKOOOO

Other (explain)

 

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

 

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.
\,
B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

On October around the beginning of the month I went to see )Dr.J.Weaver
from a response to a cop out to participate in a drug program and upon
meeting with Dr.Weaver he requested me to pull out my penis to show him
in order for me to be placed in to the drug residential program which I
could recetv-up to 1-year off of my sentence. This happend in 10/10/18,

 

Page 4 of 11

 

 
Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 5 of 14 PagelD #: 5

Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

VI.

C, What date and approximate time did the events giving rise to your claim(s) occur?

It was some time around the beginning of October in the year of 2018.

Dz. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?) — was in Dr.Weaver's office
were he sexually assaulted me and used his position to bribe me off

entering a program wherea though I could receive up to 1 year off of my
prison sentence.

 

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive. I have sustianed mental injuries which
are effecting the way that I live each day in prison, sleep and interact with
ather staff at which point I am paranoid to even talk to any prison official.

 

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims. T have sought legal advice at expense of my
oun free will to help me resolve this attack, and I am suffering a irreparable harm
that could last for my entire life by a government official which may occur even
after my prison term whereas though I would have to continue to pay for treatment
and therefore I am requesting 2.3 million dollars in punitive damages for a injury
that is real and life threatening.

 

Page 5 of 11

 
 

Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 6 of 14 PagelD #: 6

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

VII. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

[X] Yes
[] No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

 

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[x] Yes
[-] No

[|] Do not know

C, Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

Yes
[-] No

[-] Do not know

If yes, which claim(s)?

ALL of them.

Page 6 of 11

 
 

Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 7 of 14 PagelD #: 7

Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

Dz. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

[] Yes
No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

Yes
[-] No

E. If you did file a grievance:

1. Where did you file the grievance?

With the Bureau of Prisons Regional Director
Angela Dunbar

Federal Ruearsau of Prisons

302 Sentinel Dr.

Suite 200

Annapolis Junction, MD 20701

 

2. What did you claim in your grievance?

That I was sexually harrased by a staff memeber who also tired to
bribe me.

 

 

3. What was the result, if any?

Nothing, Just notified that I would be okay.

 

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process. )

T did not follow the in house grievance because it would have been a
conflict of interest and the staff there probably would have not done
anything to help me so I file with the Region and told my family.

 

Page 7 of 11

 

 
Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 8 of 14 PagelD #: 8

Pro Se 14 (Rey. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

F. If you did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

I did not trust the officials who worked at the prison and felt
embarrased and thought that they might of considered me a liar
and do nothing about it, or place me in the shu which they did
any way for 8 months.

 

2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any’
IT informed the Regional Director Angela Dunbar’ in the month of October

and there wasn't a response I was placed in the shu as a retilator behind
my confession fro & months.

 

G. Please set forth any additional information that is relevant to the exhaustion of your administrative

remedies. I did a declaration that I wrote in blue ink by hand and mailed that to
the F.B.0.P. Regional Director Ms.Dunbar and to my family at home.

 

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your

administrative remedies.) See my Affidavit In Support Of Damages and Injury which
is incorporated herein by reference and used as exhibit 2.

VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[ ] Yes
x] No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

 

Page 8 of 11

 
 

Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 9 of 14 PagelD #: 9

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

 

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
[| Yes
No

B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is

more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit © N/A’
Plaintiff(s)

Defendant(s)

 

2. Court (if federal court, name the district;-if state court, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?

[_] Yes
[-1No

If no, give the approximate date of disposition.

 

7, What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

C, Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment? No,

Page 9 of 11

 
Case 5:19-cv-00629 Document 1 Filed 08/30/19 Page 10 of 14 PagelD #: 10

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

[] Yes
No

 

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below, (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

 

 

2. Court (if federal court, name the district; if state court, name the county and State)

 

3. Docket or index number

 

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. Is the case still pending?
[] Yes
[-] No

If no, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

Page 10 of 11

 

 
Case 5:19-cv-00629 Document 1 Filed 08/30/19 Page 11 of 14 PagelD #: 11

Pro Se 14 (Rev, 12/16) Complaint for Violation of Civil Rights (Prisoner)

TX,

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
1 agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. [ understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

pacofsinine  Surty 2E, 201%

 

 

 

 

 

 
 
  

fn aff
Signature of Plaintiff MALIK WILLIAMS Mo V LV {f imal » Arsen | -
Printed Name of Plaintiff =§ “74> THK t2Ts LL: _- A bi5 . ”
Prison Identification # 55348-039
Prison Address FCI FORT DIX P.O. BOX 2000 ;
JOINT BASE MDL Nd pa640
City State Zip Code
B. For Attorneys
ee a

Date of signing: J ae

| rf
Signature of Attorney MALIK WILLIAMS PRO 86 / A

i.
LZ Ai) AS FRO SE

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

Page 11 of 11

 
 

Case 5:19-cv-00629 Document 1 Filed 08/30/19 Page 12 of 14 PagelD #: 12

AFFIDAVIT IN SUPPORT OF CLAIM
FOR DAMAGE AND INJURY

 

A matter must be expressed for being resolved. In commerce, truth is sovereign.
Truth is expressed in the form of an affidavit. An affidavit not rebutted stands
as truth in commerce. An affidavit not rebutted after thrity (30) days, become the
judgment in commerce. A truth affidavit, under commercial law, can only be
satisfied by truth affidavit rebuttal, by payment, by agreement, by resolution or
by common law rule jury.

I, Malik Williams, being first duly sworn, depose affirm and say on the record;

1.) That I, the affiant suffered sexual harrassment from Dr.J.WJeaver an or around
October 10, 2018 within the confines of the Federal Correctional Institution,
Beckley in lWest Virginia.

2.) That I visited Dr.J.Weaver at his office at the institution where I was asked
if I wanted to get time off of my sentence and be placed in the program that could
provide me with that assistance.

3.) That Dr.J.Weaver stated to me that he was putting me in for that program to
receive time off and then asked me what was I willing to do for it ?

4&4.) I replied whatever it takes,

5.) Dr.J.Weaver then requested that I pull out my penis and show and provide other
sexual favors for him.

6.) That I was in shock, felt frieghtend and did not respond but immediately left
out of his office.

7.) That upon leaving Dr.J.Weaver's office I immediately e-mailed my family and
notified them of this sexual attack that took place against me.

RA.) That after my family received my e-mail that they took immediate action and
contacted the Assistant Regional Director Ms.Angela Dunbar.

9.) That I was contacted by staff would informed me to never bring up the fact
that Dr .Weaver told me to pull out my penis cause he bribed me with the year off.

10.) I was scared for my life and kept quite but still contacted my family through
mail and other means of communication to let them know what was happening to me
behind all of this. ,

11.) That I never receive any response from my family nor was my mail sent out or
returned back to ma.

12.) That from that point I have been afraid of what the guards might try to do to
me if I were to expose this information and have been suffering from lack of sleep
and paranoia.

13.) I was retaliated against by the FCI Beckley staff who placed me in the
disciplinary housing unit for 4 months then transferred me to FCI Fort Dix where I
am presently residing.

14.) That I did infact start my administrative remedy process which have been
stultified, by in house authorities so I wrote directly to the region and contacted
Kristen Keller who told me that she would handle the situation. I have heard nothing
since then. I did not want to do the BP-8, BP-9 because they are all filed within
the confines of the institution and there are probably other victims who have been
silenced behind such filings this is why I filed directly to the region.

Page 1 of 3

 

 
Case 5:19-cv-00629 Document1 Filed 08/30/19 Page 13 of 14 PagelD #: 13

15.) That in my relief I am requesting punitive damages in the amount of 2.3 million
for suffering a irreparable harm which is mental challenging and lack of sleep and
paranoia and no treatment by staff who also played apart in protecting this sexual
harrassment attack by ane of their staff members.

16.) That all of the above mentioned attestations are made in good faith and are
true, correct, and not ment to mislead so help me god.

17.) The llarden, the FS0P, Dr.J.Weaver, and the FCI Beckley Staff are to rebutt line
for line and point for point each and every attestation made herein or else these

Claims shall stand as proof of claim as wall as truth in any court of law now or in
the future.

18.) After the receipt of this affidavit in support of claim for damage and injury
is received by the appropriate official responsible for the misconduct of the above
mentioned individual, then they have only 15 days to cure or else this affidavit
shall stand as proof of claim and truth in any court of law as a default and the
above affiant shall use this affidavit for default judgment against the above
metioned respondent(s) in any court of law to collect for injuries and damages which
he encured that are real.

19.) Affiant hereby demands that,
a) he receive proffessional medical treatment for his mental assault;

b) that he be compensated for the injuries and damages he encumbered which are
infact physical and real and are affective mentally challenging whereas
Sleep is hardly begotten as: well as trust and paranoia which can become a
permenant life time effect on his mental.

c) violation of his 4&th, Sth, Ath, 8th, and 14th Amendment U.S. Constitutional
Rights for unconstitutional injuries and damages associated with the actions
stated above by Dr.Jd.Weaver be compensated in a

sum Certain amount of $2.3 million (TRD-not to exceed $500,000,000.00) by
The Federal Bureau of Prisons, Warden, Phsycology Department, Dr.d.Weaver
and the FCI Beckly Staff at FCI Beckley, WVA 25801.

Witness my hand and seal done on this yy day of July, 2019.

Further Affiant Saith Not.

Respectfully submitted,
ce: WARDEN, Dr.d.Weaver, Phsycology Dept.) ‘ba. ©
F.B.0.P. Representatives, and The FCI By; , Ad Y Vle Qe

 

Beckley located at FCI Beckly, WVA MAYTK WILLIAMS, ACTING PRO SE
25801. FED.REG.NO.# 55348-039
UNIT 5711
FEDERAL CORRECTIONAL INSTITUTION
FORT DIX

P.O. BOX 2000
JOINT BASE MDL, NJ 08640

Page 2 of 3

 
Case 5:19-cv-00629 Document 1 Filed 08/30/19 Page 14 of 14 PagelD #: 14
CERTIFICATE OF SERVICE

TI, MALIK WILLIAMS, acting Pro se litigant in accordance with 28 U.S.C. § 1746
under the pains and penalty of perjury without the United States hereby certify that
I served this Affidavit In Support of Claim For Damage and Injury to the Federal
Bureau of Prisons, 302 Sentinel Dr., Suite 200, Annapolis Junction, MD 20701 and the
Torts Branch Civil Division, U.S. Department of Justice, Washington, D.C. 20530 by
United States Postal certified mailing service on this ad day of July 2019.

die submitted,

, K
ce: WARDEN, Dr.d.Weaver, Phsycology eee t ay; A al uo Nl.

F.8.0.P. Representatives, and 7 MACIK WILLIAMS, ACTING PRO SE
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peoat Staff located at FCI nackloy, VA Te Net Nn dnesben O30
UNIT 5711
FEDERAL CORRECTIQNAL INSTITUTION
FORT DIX
Po. BOX 2000
JOINT BASE MDL, NJ 08640

Page 3 of 3

 

 

 
